
THE COURT.
In our opinion the petition does not show any good ground for the issuance of either a writ of habeas corpus or a writ of certiorari.
To our minds the ordinance of the city and county of San Francisco here involved is not violative of any provision of *722either state or federal constitution, and is a valid enactment. The complaint in the police court stated facts sufficiently showing a public offense in view of the provisions of said ordinance. The claim that the police court erred in refusing to grant a transfer to another department of that court because of the alleged bias and prejudice of the police judge is not a matter going to the jurisdiction of the court and cannot be considered on this application. The claim that the evidence given on the trial was not sufficient to prove the charge is also a matter not available to petitioner on such an application as this, and the same appears to be true as to all other claims made in support of the application.
The application is denied.
